Case 3:10-cv-02358-JAH-WMC Document 1 Filed 11/15/10 PageID.10 Page 1 of 7
Case 3:10-cv-02358-JAH-WMC Document 1 Filed 11/15/10 PageID.11 Page 2 of 7
Case 3:10-cv-02358-JAH-WMC Document 1 Filed 11/15/10 PageID.12 Page 3 of 7
Case 3:10-cv-02358-JAH-WMC Document 1 Filed 11/15/10 PageID.13 Page 4 of 7
Case 3:10-cv-02358-JAH-WMC Document 1 Filed 11/15/10 PageID.14 Page 5 of 7
Case 3:10-cv-02358-JAH-WMC Document 1 Filed 11/15/10 PageID.15 Page 6 of 7
Case 3:10-cv-02358-JAH-WMC Document 1 Filed 11/15/10 PageID.16 Page 7 of 7
